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                        UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF WISCONSIN (EAU CLAIRE)

     In Re: Brian Joseph Duka-Smith
            Lindsay Evelyn Waldron, Debtors.
                                                  Case No. 1-19-10447-bhl
                                                  Chapter: 7
   ________________________________________________________________________________

              ORDER GRANTING RELIEF FROM STAY AND ABANDONMENT


          USAA Federal Savings Bank (the Movant) filed a Motion for Relief from
   Automatic Stay and Abandonment with respect to the Debtors’ real property more
   commonly known as S8299 Raaum Road, Ferryville, Wisconsin 54628 (the “Property.”)
   Due and proper notice was given, and no objections were filed. The facts recited in the
   motion show that the Movant’s interest in the Property is not adequately protected, or other
   cause exists for granting the Movant’s request for relief from stay and abandonment.

         IT IS ORDERED: the stay of 11 U.S.C. Section 362 is modified to permit the
   Movant to exercise its rights and remedies with respect to the Property under its loan
   documents and applicable non-bankruptcy law;

          IT IS FURTHER ORDERED: the Trustee is authorized and ordered to abandon the
   Property from the bankruptcy estate under 11 U.S.C. Section 554;

          IT IS FURTHER ORDERED: all other relief requested in the motion is denied;

           IT IS FURTHER ORDERED: this Order is effective immediately and is not stayed
   for 14 days pursuant to Bankruptcy Rule 4001(a)(3).

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